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                       1 LATHAM & WATKINS LLP
                           Marvin S. Putnam (Bar No. 212839)
                       2     marvin.putnam@lw.com
                       3   Laura R. Washington (Bar No. 266775)
                             laura.washington@lw.com
                       4 10250 Constellation Blvd., Suite 1100
                         Los Angeles, California 90067
                       5 Telephone: +1.424.653.5500
                       6 Facsimile: +1.424.653.5501
                       7 Attorneys for Defendants
                         Netflix, Inc., and
                       8 Netflix Worldwide Entertainment, LLC
                       9
                                            UNITED STATES DISTRICT COURT
                  10
                                          CENTRAL DISTRICT OF CALIFORNIA
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                  12
                  13       FIONA HARVEY,                         Case No. 2:24-cv-04744-RGK-AJR

                  14                    Plaintiff,               MEMORANDUM OF LAW IN
                                                                 SUPPORT OF DEFENDANTS’
                  15            v.                               SPECIAL MOTION TO STRIKE
                  16       NETFLIX, INC., and NETFLIX            Date:       September 3, 2024
                           WORLDWIDE ENTERTAINMENT,              Time:       9:00 a.m.
                  17       LLC,                                  Place:      Courtroom 850
                  18                    Defendants.              Hon. R. Gary Klausner
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                       1 I.     INTRODUCTION.
                       2        Defendants Netflix, Inc. and Netflix Worldwide Entertainment, LLC
                       3 (collectively, “Netflix”) create and distribute artistic content. Netflix provides
                       4 storytellers like Richard Gadd (“Gadd”)—the creator of, and lead actor in, Baby
                       5 Reindeer (the “Series”)—the opportunity to showcase their creative works. The
                       6 Series—a dramatic work based on real events in Gadd’s life—follows Donny Dunn
                       7 (“Donny”), a comedian who struggles with his sexual identity and past sexual abuse.
                       8 The character Martha Scott (“Martha”) stalks, harasses, and physically assaults
                       9 Donny, forcing him to confront his insecurities. Fiona Harvey, a woman who in real
                  10 life actually stalked and harassed Gadd, attorney Laura Wray (“Wray”) and others,
                  11 alleges that the Martha character is her and brings defamation and derivative claims
                  12 against Netflix. Yet, Martha is not Harvey. Harvey is not a character name, and the
                  13 Series never uses Harvey’s name in any way. Netflix and Gadd never identified
                  14 Harvey as someone who stalked him (and others) in real life. Rather, it was Harvey
                  15 who thrust herself into the spotlight and identified herself as the supposed inspiration
                  16 for Martha.
                  17            The Series is a skillful exploration of sexual identity, sexual abuse,
                  18 harassment, and stalking. The first episode begins with an eerie musical score and
                  19 farcical interaction between two characters. The screen then abruptly goes dark, and
                  20 “this is a true story” is slowly typed across the screen. While the Series is based on
                  21 Gadd’s real-life trauma and emotions, the characters, scenes, dialogue, and events
                  22 convey Gadd’s story in an imaginative style that has garnered critical acclaim,
                  23 numerous awards, and eleven Emmy nominations. As is obvious to any reasonable
                  24 viewer, the Series is not a factual documentary representing literally true details and
                  25 imagery.
                  26            Harvey’s contrary claims are a baseless attack on Netflix’s exercise of free
                  27 speech and barred by California’s anti-Strategic Lawsuits Against Public
                  28 Participation (“anti-SLAPP”) statute. Her claims all challenge Netflix’s distribution
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                       1 of the Series, which is plainly protected speech by the statute. It is thus Harvey’s
                       2 burden to establish that her claims have minimal merit, which she cannot. As even
                       3 Harvey admitted during her interview with celebrity interviewer Piers Morgan,
                       4 “Martha cannot be me . . . [she] is a fictional character.” Harvey is correct: no
                       5 reasonable viewer could understand the Series to make any statements of fact, let
                       6 alone a statement specifically about Harvey.
                       7        All of that said: Harvey did, in fact, harass and stalk Gadd in real life. She
                       8 sent him thousands of emails, handwritten letters, and social media posts, and left
                       9 him hours of voicemails. Many of those communications, which Gadd provided to
                  10 the police, included prurient, violent and astoundingly racist, xenophobic,
                  11 homophobic, and otherwise hateful content: Harvey tells Gadd she wants to “stab
                  12 [all Labour Party members] in the face,” that she is glad she did not date Gadd
                  13 because “[he] is gay and [she’d] have aids [sic],” and that she “hate[s] muslims” and
                  14 is “a racist.” Harvey’s own statements—and the mountain of evidence of her
                  15 conduct toward Gadd and others—demonstrate that any of the purportedly
                  16 defamatory statements she alleges were substantially true. This too completely bars
                  17 her claims. But even if the statements were not substantially true (and they are),
                  18 then all Netflix has done is publish a memoir of Gadd’s story, which viewers
                  19 reasonably understand is told through his own emotions and self-reflections. This is
                  20 opinion and thus cannot legally form the basis for her claims.
                  21            Finally, even if she could somehow overcome these constitutional protections,
                  22 as a public figure, Harvey must demonstrate Netflix acted with actual malice in
                  23 distributing the Series. She cannot. Her claims thus fail for this additional reason.
                  24 Harvey is never mentioned in the Series, and there is a disclaimer in each episode to
                  25 make clear the Series was fictionalized for dramatic purposes. Netflix clearly did
                  26 not intend for viewers to understand the Series to state actual facts about Harvey.
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                       1        Simply stated, Harvey cannot establish the minimal merit needed to overcome
                       2 the protections provided by the anti-SLAPP statute. The Court thus should grant
                       3 Netflix’s motion and strike Harvey’s complaint in its entirety.
                       4 II.    STATEMENT OF FACTS.
                       5        A.     Gadd.
                       6        Gadd is a well-known Scottish comedian, writer, and actor who conceived,
                       7 wrote, and starred in the Series. Declaration of Richard Gadd (“Gadd Decl.”) ¶ 1.
                       8 Gadd was inspired to write the Series by his struggles with his sexual identity and
                       9 experiences with sexual abuse, harassment and stalking. Id. ¶ 8. He fictionalized
                  10 characters to assist in telling his own personal, real experiences with trauma. Id. ¶ 5.
                  11 He did not represent or make a statement about anyone real, including Harvey. Id.
                  12 ¶ 13. Instead, Gadd intentionally created characters that did not share the real names
                  13 of anyone from his real life and wrote fictionalized dialogue. Id. ¶ 10.
                  14            B.     Netflix.
                  15            Netflix released the Series on its streaming service on April 11, 2024.
                  16 Declaration of Anne Mensah (“Netflix Decl.”) ¶ 3. Netflix understood the Series
                  17 was a fictionalized work based on Gadd’s real life. Id. ¶ 7. Netflix never would
                  18 have released the Series had it believed the Series somehow would be understood as
                  19 stating actual facts about any actual person. Id. ¶ 9. Netflix included a disclaimer
                  20 at the end of every episode to make this clear. Id. ¶ 8.
                  21            C.     Harvey.
                  22            Harvey resides in England, and admits she was on the “shortlist” to be a
                  23 candidate for Parliament. Gadd Decl.            Ex. 14.    Harvey also has a publicly
                  24 documented history of stalking Laura Wray, a Scottish lawyer, wife of Labour Party
                  25 Member of Parliament Jimmy Wray; politician Donald Dewar, the inaugural First
                  26 Minister of Scotland; and Prime Minister Keir Starmer, before eventually stalking
                  27 Gadd. Declaration of Marvin S. Putnam (“Putnam Decl.”), Exs. B, C, D. Harvey
                  28 stalked and harassed Wray, made death threats against Wray and her husband, and
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                       1 made false reports to authorities that the couple mistreated their developmentally
                       2 disabled child. Declaration of Laura Wray (“Wray Decl.”) ¶¶ 14, 19. As a result,
                       3 Wray was granted an Interim Interdict against Harvey, id. ¶ 23, akin to a temporary
                       4 restraining order in the United States, id. ¶ 20. The press reported on Harvey’s
                       5 alleged stalking of Wray and Dewar, and Harvey issued a public denial of both.
                       6 Putnam Decl. Ex. M.
                       7        Harvey began stalking Gadd in 2014. Gadd Decl. ¶ 14. For three years, she
                       8 would show up at the pub (Hawley Arms) where he worked, follow him, and attend
                       9 his comedy shows. Id. ¶¶ 14-15. Harvey sent Gadd thousands of emails, hundreds
                  10 of voicemails, and handwritten letters, often including sexual, violent, and
                  11 derogatory content. Id. ¶ 23. Harvey, for example, warned Gadd to “shut [his]
                  12 ignorant little failed actor mouth” because he was “finished.” Id. Ex. 29. She
                  13 declared her gratitude that they had never dated because “you are gay and I’d have
                  14 aids.” Id. In another email, she raged that “the minute I see [Labor Party members]
                  15 I want to stab them in the face.” Id. Ex. 13. She repeatedly propositioned Gadd,
                  16 demanding that she “want[s] sex three times at night and twice in the morning.” Id.
                  17 Ex. 19. The communications were often filled with offensive, hateful speech,
                  18 including that she “hate[s] muslims,” id. Ex. 5, and is “a racist,”1 id. Ex. 6. Harvey
                  19 also pinched and touched various parts of Gadd’s body, and on one occasion shoved
                  20 him in the neck and pointed in his face. Id. ¶¶ 17, 19. Gadd eventually obtained a
                  21 First Instance Harassment Warning against Harvey. Id. ¶ 53. Craig Seymour,
                  22 General Manager of the Hawley Arms pub, witnessed Harvey’s stalking and
                  23 harassment of Gadd first-hand, and describes her behavior as so “severe, unpleasant,
                  24 and nasty” that she was barred from the pub. Declaration of Craig Seymour
                  25 (“Seymour Decl.”) ¶¶ 1-10.
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                  28 50For more examples of this harassment, please see Exhibits 1-41, 44-45, 47-48, 49-
                        and 52 attached to the Gadd Declaration.
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                       1         D.    The Series.
                       2         The Series, which Netflix characterizes as an “offbeat, psychological”
                       3 dramedy, follows fictionalized character Donny (played by Gadd), an aspiring
                       4 comedian who grapples with his sexual identity and past sexual abuse. Netflix Decl.
                       5 ¶ 3. While Donny’s character professes “this is a true story” once, in the first
                             2


                       6 episode, each episode disclaims that: “This program is based on real events:
                       7 however, certain characters, names, incidents, locations, and dialogue have been
                       8 fictionalized for dramatic purposes.” See, e.g., Ep. 1 at 30:43.
                       9         In the Series, Donny first meets Martha at his bartending job when she enters
                                                  3
                  10 the pub crying. Id. at 02:06. Donny feels sorry for her and gives her a free drink;
                  11 Martha returns during Donny’s shifts. Id. at 02:25, 05:08. When Martha says she
                  12 needs someone to “hang her curtains,” Donny jokes, with sexual innuendo, that he’ll
                  13 “hang her curtains.” Id. at 08:54. Martha then starts appearing at his shows,
                  14 frequently emails, asks him on dates, and sends a “friend request” on Facebook. Id.
                  15 at 20:21, 23:07, 09:44, 27:37. This leads to Donny searching Martha’s name on the
                  16 Internet, and he discovers her history of stalking. Id. at 28:22.
                  17             When Donny begins dating a transgender woman, he struggles with shame
                  18 and embarrassment. Ep. 2 at 03:20. When she tries to publicly kiss him, he panics
                  19 and flees. Id. at 20:50. Martha suddenly appears, follows him down a dark alley,
                  20 corners him, and fondles him. Id. at 22:04. This assault triggers painful memories
                  21 of Donny’s prior sexual abuse. See generally Ep. 4. Martha, meanwhile, continues
                  22 to stalk Donny, sitting outside his house for hours and harassing him at his comedy
                  23 shows. Ep. 3 at 12:20, 14:10, 27:07. Donny repeatedly reports Martha to the police.
                  24 See, e.g., Ep. 3 at 42:07; Ep. 5 at 15:44. When Donny provides the police Martha’s
                  25
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                  26   The Complaint relies on the Series and attaches screenshots of scenes; the Court
                     thus may consider the entire Series, which is incorporated by reference. See, e.g.,
                  27 Eliott v. Lions Gate Ent. Corp., 639 F. Supp. 3d 1012, 1021 (C.D. Cal. 2022). A
                     copy of the Series will be lodged with the Court.
                  28 3 Citations to time stamps indicate time elapsed in the episode.
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                       1 full name, they inform him that she once stalked a policeman. Id. Ep. 5 at 16:23.
                       2 Martha once again shows up at Donny’s work, they get into an argument, and Martha
                       3 hits Donny in the head with a glass, grabs his face, and digs her fingers into his eyes.
                       4 Ep. 6 at 14:10.
                       5         Shaken by the attack, Donny tries to perform at a comedy competition only to
                       6 become overwhelmed by emotion. Id. at 22:35. He suddenly details his history of
                       7 abuse in a cathartic monologue that goes viral, bringing Donny unexpected
                       8 recognition. Id; Ep. 7 at 00:20. Martha then tracks down Donny’s cell number and
                       9 calls him incessantly. Ep. 7 at 1:47. At the police’s suggestion, Donny then listens
                  10 to hours of voicemails to show she is a threat. Id. at 10:00. Her rapid-fire chatter
                  11 overlays a montage of Donny’s daily activities. Id at 10:40. Martha ultimately
                  12 threatens to stab someone, id. at 12:55, and in a “dramatic[]” scene, Compl. ¶ 56,
                  13 she pleads guilty to stalking and harassment, is sentenced to prison, and a restraining
                  14 order is issued. Ep. 7 at 13:34. After the sentencing, Donny stops into a bar and
                  15 orders a drink. Id. at 25:50. In a poetic, full-circle moment, Donny starts to cry and
                  16 the bartender offers him the drink for free. Id. at 26:26.
                  17             E.    Harvey’s Allegations.
                  18             Harvey alleges “all viewers” of the Series understood that Fiona Harvey did
                  19 the “monstrous things” that the character Martha did in the Series. Compl. ¶ 29.
                  20 Harvey alleges viewers understood the Martha character to be the real-life Harvey
                  21 because Donny jokes he will “hang [Martha’s] curtains,” and Harvey allegedly once
                  22 sent a tweet to Gadd that made a similar reference. Id. ¶¶ 30-39. Harvey further
                  23 alleges she shares similarities with Martha that reinforce this understanding: (1) they
                  24 are both Scottish lawyers living in London who were accused of stalking a lawyer;
                  25 (2) Martha is older than Donny and Harvey is older than Gadd; (3) they “bear[] an
                  26 uncanny resemblance” to one another; and (4) they have similar accents and manners
                  27 of speaking. Id. ¶¶ 40-41. According to Harvey, Netflix’s statements on a marketing
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                       1 website and before Parliament that the Series is a “true story” defame her for the
                       2 same reason. Id. ¶¶ 71-80.
                       3         Yet, Harvey concedes that her name does not appear in the Series, there are
                       4 no characters named after real persons, and dramatic scenes and content were created
                       5 to make the story emotionally compelling. Id. ¶¶ 27, 56, 60. Harvey also concedes
                       6 the portrayal of Martha is entirely “fabricated.” Id. ¶ 27.
                       7         Two weeks after the Series aired on Netflix, Harvey identified herself on
                       8 Facebook as the supposed inspiration for the Martha character. Putnam Decl. Ex. S.
                       9 She then went on Piers Morgan Uncensored to reaffirm her claims. Id. ¶¶ 3-17,
                  10 Ex. A.
                  11 III.        LEGAL STANDARD.
                  12             California enacted the anti-SLAPP statute to deter lawsuits that would
                  13 otherwise “chill the valid exercise of the constitutional right[] of freedom of speech.”
                  14 Varian Med. Sys., Inc. v. Delfino, 35 Cal. 4th 180, 192 (2005). The statute creates a
                  15 “special motion to strike” such claims. See Baral v. Schnitt, 1 Cal. 5th 376, 392–94
                  16 (2016). If all causes of action are premised on protected activity, the Court must
                  17 strike the entire complaint. See Int’l Un. Of Operating Eng’n, Local 39 v. Macy’s,
                  18 Inc., 83 Cal. App. 5th 985, 996 (2022).
                  19             In evaluating an anti-SLAPP motion, the Court performs a two-step analysis.
                  20 First, the defendant must show that plaintiff’s claims arise from an act in furtherance
                  21 of free speech under the United States or California Constitutions. Cal. Code Civ.
                  22 Proc. § 425.16(b)(1). Once the moving party has shown that the challenged claims
                  23 arise from protected activity, the court presumes the purpose of the action was to
                  24 chill the defendant’s exercise of its First Amendment rights. Greater L.A. Agency
                  25 on Deafness, Inc. v. Cable News Network, Inc., 742 F.3d 414, 422 (9th Cir. 2014).
                  26 The nonmoving party then must demonstrate that the challenged claim is legally
                  27 sufficient and substantiated. Trinity Risk Mgmt., LLC v. Simplified Lab. Staffing
                  28 Sols., Inc., 59 Cal. App. 5th 995, 1003–04 (2021). “If the nonmovant fails to meet
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                       1 either of [those] two requirements, the claim is subject to immediate dismissal.” See
                       2 Heller v. NBC Universal, Inc., 2016 WL 6583048, at *3 (C.D. Cal. June 29, 2016).
                       3 IV.    THE COURT SHOULD GRANT NETFLIX’S MOTION.
                       4        Harvey’s claims are premised on Netflix’s distribution of a fictionalized
                       5 television series and therefore arise from protected activity. The burden thus shifts
                       6 to Harvey to demonstrate her claims have minimal merit. She cannot meet this
                       7 burden. She cannot establish Netflix made a provably false statement of fact about
                       8 her. Even if she could get past these essential steps, she cannot show that Netflix
                       9 acted with actual malice. Her Complaint must be stricken.
                  10            A.     Harvey’s Claims Arise From Protected Activity.
                  11            Harvey’s claims plainly arise from protected activity. They are premised on
                  12 distribution of the Series. And the Series constitutes discourse of widespread public
                  13 interest.
                  14                   1.    The Claims Arise Out of Conduct in Furtherance of Speech.
                  15            The creation of film and television are core free speech activities protected by
                  16 the First Amendment. See De Havilland v. FX Networks, LLC, 21 Cal. App. 5th
                  17 845, 849–50 (2018); Tamkin v. CBS Broad., Inc., 193 Cal. App. 4th 133, 143–44
                  18 (2011); Brodeur v. Atlas Enter., Inc., 248 Cal. App. 4th 665, 674 (2016). Netflix’s
                  19 distribution of the Series is therefore protected speech entitled to protection under
                  20 the anti-SLAPP statute. Id.; see also De Havilland, 21 Cal. App. 5th at 851, 856–
                  21 57, 859–60 (anti-SLAPP protection for airing a television series); Brodeur, 248 Cal.
                  22 App. 4th at 674–78 (same).
                  23                   2.    The Speech Is Connected with an Issue of Public Interest.
                  24            The subject matter of the Series—sexual abuse, harassment and stalking—are
                  25 indisputably topics of widespread, public interest. See, e.g., M.G. v. Time Warner,
                  26 Inc., 89 Cal. App. 4th 623, 629 (2001) (child molestation issue of public interest);
                  27 Cross v. Cooper, 197 Cal. App. 4th 357, 375 (2011) (sex offender); Sipple v.
                  28 Foundation for Nat’l Progress, 71 Cal. App. 4th 226, 238 (1999) (domestic
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                       1 violence). This is further evidenced by the media attention to the Series including
                       2 its writing, directing, and acting. Putnam Decl., Exs. G-L; Netflix Decl. at ¶ 4; see
                       3 also, e.g., Tamkin, 193 Cal. App. 4th at 143 (television show protected where public
                       4 demonstrated interest in creation).
                       5        The subject matter of the Series also allegedly concerns Gadd, who is
                       6 indisputably in the public eye. See, e.g., Compl. ¶¶ 19-20, 24, 27; Gadd Decl. ¶¶ 2-
                       7 4, 8. Gadd has been a recognized actor and writer for years. See Putnam Decl., Exs
                       8 B-G. There is a “public interest which attaches to people [like Gadd] who, by their
                       9 accomplishments, mode of living, professional standing or calling,” attract the
                  10 public’s “attention to their activities.” Stewart v. Rolling Stone LLC, 181 Cal. App.
                  11 4th 664, 677–78 (2010).
                  12            B.     Harvey’s Claims Are Meritless.
                  13            As Harvey’s claims arise from protected activity, she has the burden to prove
                  14 they are legally sufficient and substantiated. She cannot for four independent
                  15 reasons: (1) she cannot establish Netflix made any provably false statement about
                  16 her; (2) the statements are substantially true; (3) the statements are legally protected
                  17 opinion; and (4) Harvey, a public figure, cannot establish actual malice.
                  18                   1.    Harvey Cannot Show Netflix Made Provably False Statements
                                             of Fact About Her.
                  19
                  20            A defamation claim must be premised on a statement that is provably false;
                  21 statements cannot form the basis of a defamation action if they cannot reasonably be
                  22 interpreted as stating actual facts about an individual. Ferlauto v. Hamsher, 74 Cal.
                  23 App. 4th 1394, 1401 (1999). Courts thus consider “whether a reasonable person . . .
                  24 would understand that the fictional character therein pictured was, in actual fact, the
                  25 plaintiff acting as described.” Tamkin, 193 Cal. App. 4th at 146. Courts do so by
                  26 looking at the “totality of the circumstances.” Knievel v. ESPN, 393 F.3d 1068,
                  27 1074-75 (9th Cir. 2005). Courts consider the broad context for the statements,
                  28 including the general tenor of the work, the specific context and content of the
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                       1 statements, the extent of figurative or hyperbolic language, the reasonable
                       2 expectations of the audience, and “whether the statement itself is sufficiently factual
                       3 to be susceptible of being proved true or false.” Id. at 1075; see also De Havilland,
                       4 21 Cal. App. 5th at 866–67 (2018) (courts must analyze statement’s broad context).
                       5 In context, no reasonable viewer could understand the Series to convey statements
                       6 of fact about Harvey. She is never mentioned.
                       7                      a.    No Reasonable Viewer Could Understand The Series As
                                                    Making Factual Statements About Harvey.
                       8
                       9         Harvey does not contend the Series uses historical footage of her, uses her
                  10 name or names of real persons, or depicts real events from her actual life. Nor could
                  11 she.        The Series includes fictional characters, events, and dialogue employed
                  12 specifically to explore traumatic experiences from Gadd’s life. See Gadd Decl. ¶¶ 5,
                  13 8, 13.
                  14             Harvey therefore stakes her entire case on her allegation that internet sleuths
                  15 supposedly identified her from a single tweet sent a decade ago from an account
                  16 @FionaHarvey2014 to @MrRichardGadd. Compl. ¶ 35. According to Harvey, this
                  17 single tweet made it easy for members of the public to identify her as the Martha
                  18 character. Id. ¶ 36. But the test is not whether a select group of uniquely motivated
                  19 individuals can ferret out a possible connection between a real person and a fictional
                  20 character. See Standing Committee on Discipline of U.S. Dist. Court for Cent. Dist.
                  21 of California v. Yagman, 55 F.3d 1430, 1437-38 (9th Cir. 1995) (specialized
                  22 audience not representative of reasonable person); Weyrich v. New Republic, Inc.,
                  23 235 F.3d 617, 626 (D.C. Cir. 2001) (same). Rather, it is Harvey’s burden to show
                  24 that reasonable viewers would understand Martha to be Harvey.                   Aguilar v.
                  25 Universal City Studios, Inc., 174 Cal. App. 3d 384, 391 (1985). This she cannot do.
                  26             Harvey merely asserts that broad similarities between her and Martha—e.g.,
                  27 that she is a lawyer, living in London, older than Gadd, accused of stalking a
                  28 lawyer—would cause a reasonable viewer to understand the Series to be “of and
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                       1 concerning” her. Compl. ¶¶ 40-41. Such generalities are insufficient. See e.g.,
                       2 Polydoros v. Twentieth Century Fox Film Corp., 67 Cal. App. 4th 318, 320, 322
                       3 (1997) (statements not “of and concerning” plaintiff despite character sharing similar
                       4 name); Aguilar, 174 Cal. App. 3d at 388 (no reasonable viewer would understand
                       5 film to be about plaintiff despite sharing name with character and being involved in
                       6 real events portrayed); Sarver v. Hurt Locker LLC, 2011 WL 11574477, at *8 (C.D.
                       7 Cal. Oct. 13, 2011) (same); Tamkin, 193 Cal. App. 4th at 146-47 (similar names,
                       8 occupations, and other characteristics insufficient). This is especially true here given
                       9 that Harvey disclaims any other similarities between herself and Martha, who she
                  10 admits is entirely “fabricated.” Compl. ¶ 27; Putnam Decl. ¶¶ 4-17, Ex. A at 7:33;
                  11 14:49; 17:22. The alleged broad similarities do not demonstrate a reasonable viewer
                  12 would understand the Series to be about Harvey. Indeed, members of the public
                  13 have speculated that several other women and a man, sharing many of the same
                  14 qualities, may have been the inspiration for the Martha character. Putnam Decl.
                  15 Exs. Q, S.
                  16             Moreover, the general tenor, style, and format of the Series ensure that a
                  17 reasonable viewer would not understand it to convey literally factual statements—
                  18 including the stylized card that reads “this is a true story” in Martha’s trademark
                  19 font. The Series makes clear to the viewer that they are watching a fictionalized
                  20 work. It does not purport to be a documentary. Rather, as Harvey concedes, the
                  21 Series employed actors, writers, producers, and executives who “fabricated” the
                  22 story to make it “more captivating.” Compl. ¶ 27. And the Series is replete with
                  23 cinematic elements, including, inter alia, a dramatic score, creative cinematography,
                  24 reverse and inconsistent chronology, intentionally ironic and absurd scenes, and a
                  25 disembodied narrator that gives the audience insight into Donny’s thoughts, that
                  26 remind the viewer that this is not a documentary or even an attempt at realism. Ep.
                  27 1 at 00:10; 01:36; Ep. 4 at 08:20; 20:21; Gadd Decl. ¶¶ 5, 9-10, 13. See e.g.,
                  28 Partington v. Bugliosi, 56 F.3d 1147, 1154-55 (9th Cir. 1995) (tenor of dramatized
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                       1 films about real events negate impression that statements represent assertion of fact).
                       2 And the disclaimer appearing in every episode of the Series dispels any notion that
                       3 it is depicting real events as they happened, which alone defeats Harvey’s claims.
                       4 See, e.g., Brodeur, 248 Cal. App. 4th at 680 (no reasonable viewer would understand
                       5 film as conveying objective facts given disclaimer); Mossack Fonseca & Co., S.A.
                       6 v. Netflix, Inc., 2020 WL 8510342, at *4 (C.D. Cal. Dec. 23, 2020) (no reasonable
                       7 viewer would interpret film as conveying fact given disclaimer stating film is
                       8 fictionalized for dramatization); Sarver, 2011 WL 11574477, at *8 (same).
                       9                      b.    The Context Demonstrates the Alleged Statements Are Not
                                                    Factual.
                  10
                  11             None of the claimed defamatory statements can, in context, be construed by a
                  12 reasonable viewer as factual, i.e. that: (1) Martha had received a 4.5 year prison
                  13 sentence; (2) Martha was a convicted stalker; (3) Martha sexually assaulted Donny
                  14 by grabbing his genitals; (4) Martha stalked Donny by sitting outside his house for
                  15 hours a day; (5) Martha stalked a policeman; (6) Martha assaulted Donny by
                  16 smashing a glass into his head and gouging his eyes; and (7) Martha pleaded guilty
                  17 and was convicted of stalking and harassment, sentenced to nine months in prison
                                                                              4
                  18 and had a five-year restraining order issued against her. Compl. ¶¶ 52-70. To the
                  19 contrary, each is presented in the context of stylistic, cinematic choices that only
                  20 reaffirm for the viewer that the Series is not a precise portrayal of historical fact. As
                  21 but one example, Martha’s prior stalking conviction is revealed as the Turtles’ peppy
                  22 “Happy Together” is played. Ep. 1 at 28:38. The clash of dark content and the
                  23 upbeat, romantic ballad reminds the viewer that this is clearly not a documentary.
                  24
                  25       4
                       The statements allegedly made on Tudum.com and by Mr. King before Parliament
                  26 alsolikewise
                     are          not identifiable as statements of fact about Harvey. These statements
                          never mention Harvey, and no reasonable viewer of the Series would understand
                  27 those  statements to concern her. Regardless, statements before Parliament are
                     absolutely privileged under Cal. Civ. Code § 47(b) and cannot form the basis of a
                  28 defamation  claim. See Scott v. McDonnell Douglas Corp., 37 Cal. App. 3d 277, 288,
                     293 (1974); Pettitt v. Levy, 28 Cal.App.3d 484, 488 (1972).
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                       1 Films of Distinction, Inc. v. Allegro Film Prods., Inc., 12 F. Supp. 2d 1068, 1081
                       2 (C.D. Cal. 1998) (use of rhetoric to convey defamation negates supposed assertion
                       3 of objective fact).
                       4         In fact, the fantastical, surreal cinematic elements that accompany Martha
                       5 grabbing Donny’s genitals, sitting outside his house for days, and being convicted
                       6 and sentenced all make clear that the Series is not a realistic portrayal of real-life
                       7 events. Martha’s assault follows Donny’s date where cinematography and sound
                       8 illustrate Donny’s growing queasiness and literal tunnel vision. Ep. 2 at 20:50. So
                       9 too, Martha’s lengthy vigil outside Donny’s house is dramatically accelerated,
                  10 showing the passage of time as days fade into night and back to day. Ep. 3 at 14:10.
                  11 And the Martha character’s final conviction and sentencing is preceded by a frenetic
                  12 sequence that involves her voice playing over a montage of Donny—the audio often
                  13 sped up or reversed to add to the fever-dream quality of the scene. Ep. 7 at 12:24.
                  14 Immediately following is a perfectly poetic moment where Donny finds himself in
                  15 the same situation where he met Martha. Id. at 28:18. In these contexts, and in the
                  16 context of the Series as a whole, no reasonable viewer would understand the Series
                  17 to be making statements of fact. See Khodorkovskaya v. Gay, 5 F.4th 80, 86–88
                  18 (D.C. Cir. 2021) (context not factual where dramatic devices framed statements);
                  19 see also Brodeur, 248 Cal. App. 4th at 680 (statement not factual where made by
                  20 “slightly unhinged” character).
                  21                   2.      The Alleged Defamatory Statements Are Substantially True.
                  22             The alleged defamatory statements (i.e., Harvey is a convicted stalker who
                  23 stalked, sexually assaulted and violently attacked Gadd) are substantially true.
                  24 Substantial truth is a complete defense to alleged defamation, and a statement is
                  25 substantially true so long as its substance or gist is justified. See Eliott, 639 F. Supp.
                  26 3d at 1027; Karimi v. Golden Gate School of Law, 361 F. Supp. 3d 956, 979 (N.D.
                  27 Cal. 2019). Courts thus routinely hold that where, as here, plaintiff engaged in
                  28 conduct akin to that asserted by defendant, a defamation claim must be dismissed.
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                       1 Eliott, 639 F. Supp. 3d at 1026-27.
                       2        The evidence proves that Harvey (i) stalked and harassed Wray, Gadd, and
                       3 others; (ii) sexually and physically assaulted Gadd; and (iii) faced legal
                       4 consequences for her criminal conduct warranting conviction if prosecuted. See
                       5 Gadd Decl. ¶¶ 16-17, Wray Decl. ¶¶ 8-13, Seymour Decl. ¶¶ 1-10. In many respects,
                       6 Harvey’s actual conduct is far worse than Martha’s cinematic actions.             The
                       7 thousands of actual emails, handwritten letters, social media posts, and voicemails
                       8 sent by Harvey are awash with violent hate speech and sexually explicit, deeply
                       9 disturbing vitriol that is nowhere depicted in the Series. Gadd Decl. Exs. 3-41.
                  10 Indeed, Louise Oakley, an experienced Senior Prosecutor in the United Kingdom,
                  11 reviewed Gadd, Wray, and Seymour’s declarations and Harvey’s emails, letters, and
                  12 voicemails and concludes “there was sufficient evidence to provide a realistic
                  13 prospect of conviction” of stalking punishable by up to eight years in prison. See
                  14 Expert Declaration of Louise Michelle Oakley ¶¶ 80-84. Harvey cannot show that
                  15 her real-life offenses would have a different—and more positive—effect on the
                  16 audience than the allegedly defamatory statements. Jackson v. Mayweather, 10 Cal.
                  17 App. 5th 1240, 1262–63 (2017), as modified (Apr. 19, 2017) (no defamation where
                  18 plaintiff could not establish inaccurate statement would have more negative effect
                  19 than truth). The alleged defamatory statements are thus nonactionable as they are
                  20 substantially true.5
                  21                   3.    Alleged Defamatory Statements Are Non-Actionable Opinion.
                  22            Even if the alleged defamatory statements were not substantially true (and
                  23 they are), the First Amendment protects Richard Gadd’s right to tell his own story,
                  24 his way. The law protects “an author writing about a controversial occurrence [who]
                  25 fairly describes the general events involved and offers his personal perspective about
                  26
                     5
                        Given Harvey’s history of stalking, harassment, and resulting legal action—
                  27 publicized before the Series’ distribution—Harvey is also libel-proof. See Wynberg
                     v. Nat'l Enquirer, Inc., 564 F. Supp. 924, 927-28 (C.D. Cal. 1982). The purported
                  28 defamatory statements    are therefore not actionable for this additional reason.
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                       1 some of its ambiguities and disputed facts.” Partington, 56 F. 3d at 1154. Crucially,
                       2 where the storyteller was personally involved in the controversial story, viewers and
                       3 listeners fully expect that the storyteller is biased and preferential to his own view.
                       4 See Ferlauto, 74 Cal. App. 4th at 1401-03. In these circumstances, “language which
                       5 generally might be considered as statements of fact may well assume the character
                       6 of opinion.” Id. at 1401-02; see also Underwager v. Channel 9 Australia, 69 F.3d
                       7 361, 367 (9th Cir. 1995). In the Series, Gadd told of a trying, troubling point in his
                       8 life, which viewers reasonably understood was colored by his own viewpoint. In
                       9 this context, the alleged defamatory statements “assume the character of statements
                  10 of opinion” and are not actionable. Ferlauto, 74 Cal. App. 4th at 1401-02; see also
                  11 Partington, 56 F. 3d at 1154; Heller; 2016 WL 6583048 at *7.
                  12                   4.     Harvey Cannot Establish Actual Malice.
                  13             Even if Harvey were able to surmount all these precursor elements of
                  14 defamation, she cannot come close to meeting the exacting standard for actual
                  15 malice. The First Amendment prohibits public figures from asserting defamation
                  16 claims unless they demonstrate the defendant made the alleged defamation with
                  17 “actual malice.” De Havilland, 21 Cal. App. 5th at 856. Harvey is indisputably a
                  18 public figure. For instance, courts have consistently held that persons running for
                  19 office are the paradigmatic public figures. See Kapellas v. Kofman, 1 Cal. 3d 20, 36
                  20 (1969); see also Mosesian v. McClatchy Newspapers, 233 Cal. App. 3d 1685, 1696
                  21 (1991). Harvey admits she not only ran for Parliament but was “o[n the] shortlist[].”
                  22 Gadd Decl. Ex. 14; see also Putnam Decl., Exs. M, T. She is thus precluded from
                  23 now claiming she is not a public figure. Harvey also voluntarily injected herself into
                  24 a public controversy, namely her stalking and harassment of Laura Wray and Donald
                  25 Dewar. Compl. ¶ 41; Putnam Decl. Ex. M. Thus, at a minimum, Harvey is a limited
                  26 purpose public figure on issues related to stalking, harassment, and assault. Planet
                  27 Aid, Inc. v. Reveal, 44 F.4th 918, 927 (9th Cir. 2022); see also Denney v. Lawrence,
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                       1 22 Cal. App. 4th 927, 936 (1994) (plaintiff limited purpose public figure where he
                       2 thrust himself into controversy).
                       3        Either way, Harvey would need to prove by “clear and convincing evidence”
                       4 that Netflix made the alleged defamatory statements with actual malice—that is,
                       5 knowing the Series “would create a false impression about [her] or act[ing] with
                       6 reckless disregard for the truth.”     De Havilland, 21 Cal. App. 5th at 869.
                       7 Fictionalized works like the Series are by definition false and Netflix’s mere
                       8 broadcast does not somehow demonstrate actual malice. Id.; Dworkin v. Hustler
                       9 Magazine, Inc., 668 F. Supp. 1408, 1418 n.15 (C.D. Cal. 1987). Harvey instead
                  10 must demonstrate Netflix either hoped to insinuate the “defamatory import” or
                  11 “knew or acted in reckless disregard of whether [their] words would be interpreted
                  12 by the average [viewer] as defamatory statements of fact.” De Havilland, 21 Cal.
                  13 App. 5th at 869-70. This she cannot do.
                  14            Rather, Netflix’s conduct demonstrates it did not intend viewers to understand
                  15 the Series to state any actual facts about Harvey. Netflix never publicly named or
                  16 mentioned Harvey.          Netflix Decl. ¶ 10.     And Netflix understood that Gadd
                  17 purposefully created fictitious characters, and invented dialogue and scenes. Id. ¶ 7.
                  18 Each episode also contained a disclaimer to make clear the Series was fictionalized
                  19 for dramatic purposes. Id. ¶ 8. Harvey also acknowledges that both Netflix and
                  20 Gadd attempted to disguise any sources of inspiration for Gadd’s work. Compl.
                  21 ¶¶ 34, 77.        This is the antithesis of actual malice.6       Such conduct instead
                  22 demonstrates that Netflix intended viewers to understand the work to be fictional
                  23 and did not act with reckless disregard. See Dworkin v. Hustler Magazine, Inc., 867
                  24 F.2d 1188, 1194-95 (9th Cir. 1989).
                  25
                  26   Netflix’s alleged failure to conduct due diligence cannot legally establish actual
                           6

                     malice, as failure to investigate does not demonstrate bad faith, even when a
                  27 reasonably prudent person would have done so. Beilenson v. Super. Ct., 44 Cal.
                     App. 4th 944, 952 (1996); Christian Rsch. Inst. v. Alnor, 148 Cal. App. 4th 71, 90-
                  28 91 (2007); Reader’s Digest Ass’n v. Super. Ct., 37 Cal. 3d 244, 258 (1984).
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                       1         C.    Harvey’s Other Claims Should Also Be Stricken.
                       2         Harvey’s other claims for intentional infliction of emotional distress,
                       3 negligence, gross negligence, and right of publicity (Compl. ¶¶ 97-130) are premised
                       4 on the same publication (the Series) as the defamation claim, and thus should be
                       5 stricken as duplicative. See, e.g., Gilbert v. Sykes, 147 Cal. App. 4th 13, 34 (2007)
                       6 (striking duplicative IIED); Planet Aid, Inc. v. Ctr. for Investigative Reporting, No.
                       7 17-CV-03695-MMC, 2021 WL 1110252, at *24 (N.D. Cal. Mar. 23, 2021) (striking
                       8 duplicative negligence claim); Seelig v. Infinity Broad. Corp., 97 Cal. App. 4th 798,
                       9 812 (2002) (same). These claims also independently fail for the reasons set forth in
                  10 Netflix’s concurrently filed motion to dismiss. See MTD at 11-17.
                  11 V.          CONCLUSION.
                  12             Netflix respectfully requests that the Court grants its motion to strike.
                  13
                  14 Dated: July 29, 2024                             Respectfully submitted,

                  15                                                  LATHAM & WATKINS LLP
                                                                        Marvin S. Putnam
                  16
                  17                                                  By /s/ Marvin S. Putnam
                                                                        Marvin S. Putnam
                  18                                                    Attorneys for Defendants
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                       1                        CERTIFICATE OF COMPLIANCE
                       2        The undersigned, counsel of record for Defendants Netflix, Inc., and Netflix
                       3 Worldwide Entertainment, LLC, certifies that this brief contains 5,584 words, which
                       4 complies with the word limit of the Court’s standing order.          In making this
                       5 calculation, I have relied on the word count of the word-processing system used to
                       6 prepare the document.
                       7
                       8 Dated: July 29, 2024                     By: /s/ Marvin S. Putnam
                                                                         Marvin S. Putnam
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